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15                       UNITED STATES DISTRICT OF CALIFORNIA
16                          CENTRAL DISTRICT OF CALIFORNIA
17
      JAMES BOLDEN, PAULETTE SCHMIDT,           Case No. 2:20-CV-03788-RGK-SK
18    DEBORAH PRYOR-BRUNS, DENNIS
      BRUNS, CHRIS GRADY, BELINDA DILL,
19    JACK DILL, SHEILA PRYOR, JOE              ALL PLAINTIFFS’ NOTICE OF
      PRYOR, ROBIE ROWE, DONALD STAIR,          VOLUNTARY DISMISSAL
20    EILEEN STAIR, CINDY VAN HORN
      DAVID VAN HORN, DEBRA DALTON,             Judge: Hon. R. Gary Klausner
21    MICHAEL DALTON, and AURORA
      KIRBY,
22
                    Plaintiffs,
23
                    v.
24
       PRINCESS CRUISE LINES LTD.,
25
                   Defendant.
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                                           1
       PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
     Case 2:20-cv-03788-RGK-SK Document 74 Filed 03/08/21 Page 2 of 2 Page ID #:686



1                ALL PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
2

3           COME NOW, All Plaintiffs asserting claims in this matter, specifically Plaintiffs
4     (1) James Bolden, (2) Paulette Schmidt, (3) Deborah Pryor-Bruns, (4) Dennis Bruns, (5)
5     Chris Grady, (6) Belinda Dill, (7) Jack Dill, (8) Sheila Pryor, (9) Joe Pryor, (10) Robie
6     Rowe, (11) Donald Stair, (12) Eileen Stair, (13) Cindy Van Horn, (14) David Van Horn,
7     (15) Debra Dalton, (16) Michael Dalton, And (17) Aurora Kirby, by and through their
8     undersigned counsel, and file as their All Plaintiffs’ Notice Of Voluntary Dismissal, and
9     would respectfully show the Court as follows:
10          Pursuant to Rule 41(a)(1), at this time, prior to the Defendants in this matter having
11    filed a motion for summary judgment, the Plaintiffs are hereby giving notice that they no
12    longer wish to pursue the claims they have asserted in this matter, and are hereby giving
13    notice of this dismissal of all claims and causes of action which have been asserted on their
14    behalf in this matter.
15          Respectfully Submitted
16    Dated: March 8, 2021                          SINGLETON LAW FIRM, APC
17                                                  By:    /s/Gerald Singleton
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                                                           Gerald Singleton
                                                           Attorneys for Plaintiffs
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       PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
